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                       IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


                                                    :
         UNITED STATES OF AMERICA                   :
                                                    :
                            v.                      :
                                                    :   3:23-CR-00026 (KAD)
         GLENN OZTEMEL and                          :
         EDUARDO INENECCO                           :
                                                    :



                         GLENN OZTEMEL’S MOTION TO SEAL

        Pursuant to District of Connecticut Local Rule 57, Defendant Glenn Oztemel, by and

through undersigned counsel, respectfully submits this motion to seal portions of his Reply

Memorandum in Support of his Motion to Compel (“Reply”), portions of the Declaration of

Nelson A. Boxer, and accompanying exhibits, filed redacted at the same time as this Motion to

Seal. Mr. Oztemel makes this motion because the Reply includes references to, and quotes

from, documents that have been identified by the government as containing Protected Discovery

Materials pursuant to Section H of the Local Rules Standing Order on Discovery. We have

communicated with government counsel, and they do not object to this motion.

                                 APPLICABLE STANDARDS

       Although the public has a “general right to inspect and copy public records and

documents, including judicial records and documents,” Nixon v. Warner Commc’ns, Inc., 435

U.S. 589, 597 (1978), as well as a “qualified First Amendment right to attend judicial

proceedings and to access certain judicial documents,” Lugosch v. Pyramid Co. of Onondaga,

435 F.3d 110, 120 (2d Cir. 2006) (internal quotation marks omitted), those rights are not

absolute. “[T]he fact that a document is a judicial record does not mean that access to it cannot

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be restricted.” United States v. Amodeo, 44 F.3d 141, 146 (2d Cir. 1995); see also Kleftogiannis

v. Inline Plastics Corp., 411 F. Supp. 3d 216, 231 (D. Conn. 2019) (explaining that “strong

presumption of public access” to complaint filed in case “does not mean that every word in the

Complaint enjoys an inviolable presumption of public access”).

       In establishing whether the common law right of access requires the disclosure of a

judicial document, a court must (1) “determine the weight of the presumption of access,” and (2)

identify and balance “all of the factors that legitimately counsel against disclosure of the judicial

document,” including “the danger of impairing law enforcement or judicial efficiency.” Mirlis v.

Greer, 952 F.3d 51, 59 (2d Cir. 2020) (internal quotation marks omitted). In determining the

weight of the presumption of access, a court must be guided “by the role of the material at issue

in the exercise of Article III judicial power and the resultant value of such information to those

monitoring the federal courts.” United States v. Amodeo (Amodeo II), 71 F.3d 1044, 1049 (2d

Cir. 1995).

       In determining whether a First Amendment right attaches to a particular document, the

Second Circuit has considered (1) whether the document has “historically been open to the press

and general public,” United States v. Erie Cty., N.Y., 763 F.3d 235, 239 (2d Cir. 2014) (internal

quotation marks omitted), (2) “whether public access plays a significant positive role in the

functioning of the particular process in question,” id., and (3) “the extent to which the judicial

documents are derived from or [are] a necessary corollary of the capacity to attend the relevant

proceedings.” Lugosch, 435 F.3d at 120.

       Even where a strong presumption of access is established (whether under the common

law or pursuant to the First Amendment), a document may nevertheless be sealed “if specific, on

the record findings are made demonstrating that closure is essential to preserve higher values and



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is narrowly tailored to serve that interest.” Erie Cty., 763 F.3d at 239 (internal quotation marks

omitted); see Kleftogiannis, 411 F. Supp. 3d at 231. The Court of Appeals has recognized the

interest in “prevent[ing] disclosure of law enforcement techniques and procedures, to preserve

the confidentiality of sources, to protect witness and law enforcement personnel, to safeguard the

privacy of individuals involved in an investigation, and otherwise to prevent interference with an

investigation.” In re Dep’t of Investigation of City of New York, 856 F.2d 481, 484 (2d Cir.

1988). Accordingly, in assessing the weight of the privacy interest, courts “consider the degree

to which the subject matter is traditionally considered private rather than public,” as well as “the

protection of the law enforcement privilege to investigations” that are for the “purpose[] of. . .

enforcing the criminal law.” Id. at 485.

                                             ARGUMENT

        We seek to file under seal Section II and portions of pages 6 to 7 of our Reply brief and

the accompanying exhibits.

        The District of Connecticut Local Rules require that any order to seal include

“particularized findings demonstrating that sealing is supported by clear and compelling reasons

and is narrowly tailored to support those reasons.” D. Conn. L.Cr. R. 57(b). The information

Mr. Oztemel seeks to seal contains FBI witness interviews (“302s”) produced by the government

on June 8, 2023, which the government marked as “Protected Discovery Material” pursuant to

the Court’s Standing Order. 1 Courts have permitted this exact sort of material to be redacted or


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  Section H of this Court’s Standing Order governing discovery in criminal indicates: “The attorney for
the government may designate in writing that certain discovery material is “Protected Discovery
Material” by bates-stamp, letter, index or other clear manner. Protected Discovery Material means only
grand jury testimony and written or recorded statements of witnesses (other than by the defendant as set
forth in subparagraph (A)(1)(a)-(d) above), material filed under seal in any court, reports drafted by law
enforcement officers or agencies, material provided to the United States by foreign law enforcement
officers or agencies and/or material regarding such provision, and material that has been classified.”
Stnd. Ord. § (H).
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sealed. See In re Terrorist Attacks on Sept. 11, 2001, No. 03 MDL 01570, 2020 WL 8611148, at

*3 (S.D.N.Y. Oct. 2, 2020) (ordering the redaction of materials that “would tend to reveal what

was contained in the 302 material itself” or “is a direct quote from an FBI 302 report

memorializing an interview”).

          Moreover, courts have recognized that public access to government investigative

materials may “unveil subjects of the investigation and the potential conduct under scrutiny, the

full volume and nature of the evidence gathered thus far, and the sources of information provided

to the Government.” United States v. Cohen, 366 F. Supp. 3d 612, 623 (S.D.N.Y. 2019)

(concluding that information discussing an ongoing investigation should not be made public).

Courts “have regularly observed in the context of ongoing investigations, the disclosure of such

information may enable uncharged individuals to coordinate or tailor their testimony and

interactions with the Government.” Id. The Reply, which seeks additional Brady and Giglio

material likely possessed by the government, heavily references materials in the 302s, including

the names of potential witnesses and their statements. Additionally, this case remains ongoing

and faces the concerns identified in Cohen, and therefore overcomes the presumption of public

access.

          Finally, the government has informed that they do not object to a motion to seal portions

of the Reply brief.

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       For the foregoing reasons, Mr. Oztemel respectfully requests permission to file the

portion of his Motion to Compel described above under seal.

Dated: New York, New York
       June 21, 2023                                       Respectfully Submitted,



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